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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                 District District
                                             __________   of Massachusetts
                                                                   of __________


                     SREYNUON LUNN                             )
                             Plaintiff                         )
                                v.                             )      Case No.     1:17-cv-10938
                  YOLANDA SMITH, et al.                        )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Yolanda Smith, et al., federal Defendants.                                                                   .


Date:          09/04/2024                                                             /s/ Malcolm McDermond
                                                                                         Attorney’s signature


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